                    Case 4:08-cr-00315-RSB-CLR Document 1512 Filed 02/26/15 Page 1 of 1
AC 247 (10/11) Order Regarding Motion for Sentence Reduction Pursuant to IS U.S.C. § 3582(c)(2)                               Page 1 of 2 (Page 2 Not for Public Disclosure)



                                                                                                                                                                (p
                                                                UNITED STATES DISTRICT COURT                                                     c

                                                                                       for the
                                                                             Savannah Division                                            -,
                                                                                                                                                       '   <1

                        United States of America                                         )


                                         V.                                              )
                                                                                                                                                                -



                                                                                             Case No: 4:08-CR-003 15-6
                              Telly Savalas Petty                                        )



                                                                                         )   USMNo: 13884-021
Date of Original Judgment:        January 11, 2010                                       )


Date of Previous Amended Judgment: June 22, 2011                                         )   Defendant's Attorney
(Use Date of Last Amended Judgment, if any)



                                           Order Regarding Motion for Sentence Reduction Pursuani to 18 U.S.C. § 3582(c)(2)


            Upon motion of                 the defendant               the Director of the Bureau of Prisons             the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § 1B1.lO and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.          F1
             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last judgment
             issued) of        months is reduced to


                                                     (Complete Paris I and!! of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated                            January 11, 2010     shall remain in effect.
IT IS SO ORDERED.

Order Date:                              L 1
                                                                                                                Judge's slKature



                                                                                             William T. Moore, Jr.
                                                                                             Judge, U.S. District Court
Effective Date: November 1, 2015                                                             Southern District of Georgia
                          (if dfferen1from order date)                                                        Printed name and title
